Case 18-62752-wlh            Doc 14       Filed 10/08/18 Entered 10/08/18 17:08:46                     Desc Main
                                          Document      Page 1 of 7


                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                                         )        CHAPTER 13
                                                               )
ALCINDOR THADEUS ROBERTS, SR.                                  )
                                                               )
                                    Debtor.                    )        CASE NO. 18-62752-WLH
---------------------------------------------------------------------------------------------------------------------
WAH5 PROPERTY, LLC D/B/A LAKESIDE                              )
RETREAT AT PEACHTREE CORNER,                                   )
                                                               )
                                    Movant,                    )
v.                                                             )
                                                               )        CONTESTED MATTER
                                                               )
ALCINDOR THADEUS ROBERTS, SR., Debtor, )
NANCY J. WHALEY, Chapter 13 Trustee,                           )
                                                               )
                                    Respondents.               )

                             NOTICE OF ASSIGNMENT OF HEARING

          NOTICE IS HEREBY GIVEN that a Motion for Relief from Automatic Stay has been

filed in the above-styled case and a hearing will be held on the Motion for Relief from the

Automatic stay in Courtroom 1403, United States Courthouse, 75 Ted Turner Drive SW, Atlanta,

Georgia, at 2:30 p.m. on October 24, 2018.

          Your rights may be affected by the court’s ruling on these pleadings. You should read

these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy

case. If you do not have an attorney, you may wish to consult one. If you do not want the court

to grant the relief sought in these pleadings or if you want the court to consider your views, then

you and/or your attorney must attend the hearing. You may also file a written response to the

pleading with the Clerk at the address stated below, but you are not required to do so. If you file

a written response, you must attach a certificate stating when, how and on whom (including



                                                         1
Case 18-62752-wlh        Doc 14     Filed 10/08/18 Entered 10/08/18 17:08:46            Desc Main
                                    Document      Page 2 of 7


address) you served the response. Mail or deliver your response so that it is received by the

Clerk at least two business days before the hearing. The address of the Clerk’s Office is Clerk,

U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive SW (Spring Street), Atlanta, Georgia

30303. You must also mail a copy of your response to the undersigned at the address stated

below.

         If a hearing on the motion for relief from the automatic stay cannot be held within thirty

(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of

filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the

automatic stay remaining in effect until the court orders otherwise.

Dated: October 8, 2018



                                                      /s/ J. Mike Williams
                                                      Attorney for Movant
                                                      State Bar No. 765209
                                                      2970 Clairmont Road
                                                      Suite 220
                                                      Atlanta, GA 30329
                                                      404-633-5114
                                                      mwilliams@apartmentlaw.com




                                                 2
Case 18-62752-wlh            Doc 14       Filed 10/08/18 Entered 10/08/18 17:08:46                     Desc Main
                                          Document      Page 3 of 7


                        IN THE UNITED STATES BANKRUPTCY COURT
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IN RE:                                                         )        CHAPTER 13
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ALCINDOR THADEUS ROBERTS, SR.                                  )
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v.                                                             )
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                                                               )
ALCINDOR THADEUS ROBERTS, SR., Debtor, )
NANCY J. WHALEY, Chapter 13 Trustee,                           )
                                                               )
                                    Respondents.               )

                       MOTION FOR RELIEF FROM AUTOMATIC STAY

          COMES NOW WAH5 Property, LLC d/b/a Lakeside Retreat at Peachtree Corner, by

and through counsel, and hereby moves the Court as follows:

                                                         1.

          This Court has jurisdiction over this contested matter pursuant to 28 USC 1471 and 11

USC 362 and 363.

                                                         2.

          The Debtor filed a petition under Chapter 13 of the Bankruptcy Code on August 2, 2018.

                                                         3.

          Movant is the lessor of the premises where the Debtor resides at 1808 Park Lake Lane,

Peachtree, Georgia 30092 (the “Premises”).




                                                         3
Case 18-62752-wlh        Doc 14     Filed 10/08/18 Entered 10/08/18 17:08:46           Desc Main
                                    Document      Page 4 of 7


                                                 4.

        Debtor leased said property from Movant under a written lease agreement at a monthly

rental rate of $1,039.00 with a late fee of $365.00.

                                                 5.

        The Debtor owes pre-petition rent and fees for the months of July and August 2018 in

the amount of $2,718.48 and post-petition rent and fees including utilities for the months of

September and October 2018 in the amount of $2,390.48.

                                                 6.

        Pursuant to 11 USC 362, Movant is stayed from the commencement or continuation of

any court or other proceeding against Debtor to recover the leased premises.

                                                 7.

        Debtor has a mere possessory interest in the property.

                                                 8.

        By reason of the foregoing, continuation of the automatic stay of 11 USC 362(a) will

work real and irreparable harm to Movant.

                                                 9.

        Debtor is still in possession of the premises, and Movant is not adequately protected.

Therefore Debtor is required to return possession to the lessor.

        WHEREFORE, Petitioner prays for:

        1. An Order terminating the automatic stay and authorizing Movant to commence

            and/or continue with eviction proceedings in State Court;

        2. An Order requiring Debtor to assume or reject the residential lease agreement;

        3. A waiver of Bankruptcy Rule 4001(a)(3);

        4. Reasonable attorney’s fees; and/or

                                                 4
Case 18-62752-wlh      Doc 14     Filed 10/08/18 Entered 10/08/18 17:08:46   Desc Main
                                  Document      Page 5 of 7


       5. Such other and further relief as is just and proper.



       This the 8th day of October, 2018.



                                                    /s/ J. Mike Williams
                                                    J. Mike Williams
                                                    Attorney for Movant
                                                    State Bar No. 765209

2970 Clairmont Road
Suite 220
Atlanta, GA 30329
404-633-5114
mwilliams@apartmentlaw.com




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Case 18-62752-wlh            Doc 14       Filed 10/08/18 Entered 10/08/18 17:08:46                     Desc Main
                                          Document      Page 6 of 7


                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
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IN RE:                                                         )        CHAPTER 13
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                                    Debtor.                    )        CASE NO. 18-62752-WLH
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                                                               )
ALCINDOR THADEUS ROBERTS, SR., Debtor, )
NANCY J. WHALEY, Chapter 13 Trustee,                           )
                                                               )
                                    Respondents.               )

                                      CERTIFICATE OF SERVICE

          I, J. Mike Williams, of 2970 Clairmont Road, Suite 220, Atlanta, Georgia 30329 certify:

That I at all times hereinafter mentioned was more than 18 years of age;

That on October 8, 2018, I served a copy of the within NOTICE OF ASSIGNMENT OF

HEARING together with the MOTION FOR RELIEF FROM STAY filed in this bankruptcy

matter on the following respondents via U.S. First Class Mail addressed as follows:

          Nancy J. Whaley
          Nancy J. Whaley, Standing Ch. 13 Trustee
          303 Peachtree Center Avenue
          Suite 120, Suntrust Garden Plaza
          Atlanta, GA 30303

          Alcindor Thadeus Roberts, Sr
          1808 Park Lake Lane
          Peachtree, GA 30092




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Case 18-62752-wlh              Doc 14         Filed 10/08/18 Entered 10/08/18 17:08:46             Desc Main
                                              Document      Page 7 of 7


           Howard P. Slomka
           Slipakoff & Slomka, PC
           Overlook III - Suite 1700
           2859 Paces Ferry Rd, SE
           Atlanta, GA 30339

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND

CORRECT.


Executed on: October 8, 2018                                         /s/ J. Mike Williams
                                                                     J. Mike Williams
                                                                     Attorney for Movant
                                                                     State Bar No. 765209

2970 Clairmont Road
Suite 220
Atlanta, GA 30329
404-633-5114
mwilliams@apartmentlaw.com



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